204 F.3d 984 (9th Cir. 2000)
    STEVEN PRESCOTT; ROBERT F. BERRY; CHERYL L. JONES; KAREN PIERCE; CHRISTINE M. TURNEY, Plaintiffs-Appellants,v.COUNTY OF EL DORADO; KATHY MODIFYING AND LIBICKI; LOCAL 1 EL DORADO REINSTATING COUNTY EMPLOYEES ASSOCIATION, OPINION Defendants-Appellees.
    No. 98-15579
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    March 2, 2000
    
      COUNSEL: W. James Young, National Right to Work Legal Defense Foundation, Inc., Springfield, Virginia, for the plaintiff appellant.
      Fred J. Hiestand, Sacramento, California, for the defendantappellee.
      On Remand from the United States Supreme Court
      Before: Ferdinand F. Fernandez and M. Margaret McKeown, Circuit Judges, and Charles R. Weiner,1 District Judge.
      ORDER
      Steven Prescott,2 an employee of the County of El Dorado, California, appealed the determination of the district court that granted him limited relief on his claim that the assessment of fair-share agency shop fees against him was not fair. We affirmed the district court in part, reversed in part, and remanded. See Prescott v. County of El Dorado , 177 F.3d 1102 (9th Cir. 1999) (Prescott I).
      Prescott sought certiorari relief from the United States Supreme Court and it, without further specification, granted certiorari and then vacated and remanded our decision for further consideration3 in light of its recent holding in Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 68 U.S.L.W. 4044 (U.S. Jan. 12, 2000). Friends of the Earth is a standing case, and the only portion of our decision that dealt with standing was part E, which discussed the issue of indemnification. See Prescott I, 177 F.3d at 1111-12. In that portion, we affirmed the district court's determination that Prescott lacked standing to object to a contract provision between the El Dorado County Employees Association, Local No. 1 and the County, pursuant to which the former agreed to indemnify the latter "from any liability which arises out of deductions of fees from employee wages, and to provide a defense against any claims." Id. at 1111.
      Because the district court should address the standing issue in the first instance, we now return the issue to that court for any necessary further development of the facts and for its consideration of Friends of the Earth in that respect under the facts of this case.
      We reinstate our opinion in Prescott I, with the exception of part E. That part shall remain vacated. We also reinstate the concurring opinion. Moreover, we vacate the district court's standing determination, which was discussed in part E, and remand that issue for further consideration.
      Therefore, in light of Prescott I, as modified, we ORDER that the district court's decision is AFFIRMED in part, REVERSED in part, VACATED in part, and REMANDED.
    
    
      
        Notes:
      
      
        1
         Honorable Charles R. Weiner, Senior United States District Judge for the Eastern District of Pennsylvania, sitting by designation.
      
      
        2
         Robert F. Barry, Cheryl L. Jones, Karen Pierce and Christine M. Turney also appeal. What we hold regarding Prescott applies equally to them.
      
      
        3
         See Prescott v. El Dorado, U.S.  , 120 S. Ct. 929,  L. Ed. 2d  (2000).
      
    
    